     Case: 1:16-cv-10007 Document #: 23 Filed: 03/30/17 Page 1 of 1 PageID #:286



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

TWIN CITY FIRE INSURANCE                     )
COMPANY,                                     )
                                             )
                   Plaintiff,                )   No.: 16-cv-10007
        vs.                                  )
                                             )
PARK RIDGE REAL ESTATE                       )
INVESTMENTS, INC. D/B/A RE/MAX               )
PROPERTIES NORTHWEST,                        )
DOROTHY ELLIS, and ELZBIETA                  )
SOFER,                                       )
             Defendants.

                                             ORDER


        This matter coming to be heard on Plaintiff’s Motion to Strike Defendant Elzbieta Sofer’s

Answer and Motion for Default Judgment against Defendant Sofer (Docket No. 19) and

Plaintiff’s Motion to Dismiss Park Ridge Real Estate Investments, Inc. d/b/a Re/Max Properties

Northwest (“Re/Max”) and Dorothy Ellis (“Ellis”)(Docket No. 20), due notice having been given

and the Court being fully advised in the premises, IT IS HEREBY ORDERED:


        1.     Plaintiff’s Motion to Dismiss Park Ridge Real Estate Investments, Inc. d/b/a

               Re/Max Properties Northwest (“Re/Max”) and Dorothy Ellis (“Ellis”) is granted.

               Defendants Park Ridge Real Estate Investments, Inc. d/b/a Re/Max Properties

               Northwest (“Re/Max”) and Dorothy Ellis (“Ellis”) are dismissed with each party

               to bear its own costs and attorneys’ fees.

        2.     Plaintiff’s Motion to Strike Defendant Elzbieta Sofer’s Answer is granted.

 ENTERED:


3/30/17                                       ____________________________________
                                              Jorge L. Alonso United States District Judge


2277148v.1
